                Case 2:11-cr-00166-MCE Document 189 Filed 02/05/14 Page 1 of 4


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 5
     Attorney for Defendant
     HUANCHANG MA
 6
                               IN THE UNITED STATES DISTRICT COURT
 7
                             FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                         )       No. 2:11-cr-00166 MCE
                                                       )
                                                       )
10             Plaintiff,                              )       STIPULATION REGARDING
11
                                                       )       EXCLUDABLE TIME PERIODS
     v.                                                )       UNDER SPEEDY TRIAL ACT;
                                                       )       FINDINGS
12
     HUANCHANG MA,                                     )
                                                       )       Date: February 27, 2014
13
                                                       )       Time: 9:00 a.m.
               Defendant.                              )       Judge: Honorable Morrison C. England, Jr.
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                                                       )
                                                       )
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                                                       )
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          The United States of America through its undersigned counsel, Christiaan Highsmith,
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19   Assistant United States Attorney, together with counsel for defendant Huanchang Ma, John R.

20   Manning, Esq., hereby stipulate the following:
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          1. By previous order, this matter was set for status conference on February 6, 2014.
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          2. By this stipulation, defendant now moves to continue status conference until February 27,
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     2014 and to exclude time between February 6, 2014 and February 27, 2014 under the Local Code

25   T-4 (to allow defense counsel time to prepare).
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          3.   The parties agree and stipulate, and request the Court find the following:
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      Case 2:11-cr-00166-MCE Document 189 Filed 02/05/14 Page 2 of 4


     a. This case is one in a series of cases developed from a lengthy DEA/Elk Grove
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 2      PD/Sac. SO investigation into “grow houses” in the Elk Grove area. Several

 3      individuals have been charged. Many, if not all the defendants a part of this
 4
        investigation are non English speakers and require the services of an interpreter to
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        communicated with. The widespread need for Cantonese/Mandarin interpreters in
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        this case, the companion cases(s), and in general, has made scheduling meetings very

 8      difficult. However, as this case is winding up, scheduling has become less difficult.
 9      To that end, the Defense has provided the Government with additional discovery and
10
        the Government needs to time to review the material and evaluate their next step.
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     b. The Defense has proffered a proposed resolution to the Government and the
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13      Government needs additional time to review the settlement proposal. Additional

14      meetings between counsel for Mr. Ma and the Government are necessary to discuss
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        the proposed resolution.
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     c. The government has suggested additional information regarding Mr. Ma may impact
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        settlement and the defense is in the process of acquiring the information. This
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19      information will relevant whether the government agrees to modify their present offer

20      to resolve or not.
21
     d. Mr. Ma lives in San Francisco area and speaks only Mandarin. Once the government
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        has evaluated the information provided be the defense, the defense will need
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        additional time to review the government’s response and the anticipated plea

25      agreement.
26   e. The Government does not object to the continuance.
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              Case 2:11-cr-00166-MCE Document 189 Filed 02/05/14 Page 3 of 4


            f. Based on the above-stated findings, the ends of justice served by granting the
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 2              requested continuance outweigh the best interests of the public and the defendant in a

 3              speedy trial within the original date prescribed by the Speedy Trial Act.
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            g. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
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                Section 3161(h)(7)(A) within which trial must commence, the time period of
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 7
                February 6, 2014, to February 27, 2014, inclusive, is deemed excludable pursuant to

 8              18 United States Code Section 3161(h)(7)(A) ) and (B)(iv), corresponding to Local
 9              Code T-4 because it results from a continuance granted by the Court at defendant’s
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                request on the basis of the Court’s finding that the ends of justice served by taking
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                such action outweigh the best interest of the public and the defendant in a speedy
12

13              trial.

14     4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the
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            Speedy Trial Act dictate that additional time periods are excludable from the period within
16
            which a trial must commence.
17
     IT IS SO STIPULATED.
18

19   Dated: February 4, 2014                                       /s/ John R. Manning
                                                                  JOHN R. MANNING
20                                                                Attorney for Defendant
                                                                  Huanchang Ma
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22   Dated: February 4, 2014                                      Benjamin B. Wagner
                                                                  United States Attorney
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24
                                                                  by:/s/ Christiaan Highsmith
                                                                  CHRISTIAAN HIGHSMITH
25                                                                Assistant U.S. Attorney
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             Case 2:11-cr-00166-MCE Document 189 Filed 02/05/14 Page 4 of 4



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 2                                               ORDER
 3
           Pursuant to the parties’ stipulation, the status conference set for February 6, 2014, is
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     hereby VACATED and continued to February 27, 2014, at 9:00 AM in Courtroom 7.
 5         IT IS SO ORDERED.
 6   Dated: February 4, 2014
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